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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
              v.                              :
                                              :       Case No: 21-MJ-195 (ZMF)
                                              :
ETHAN NORDEAN,                                :
also known as “Rufio Panman,”                 :
                                              :
              Defendant.                      :

                             UNITED STATES’ SUPPLEMENT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully files this Supplement addressing issues raised with regard to its

Opposition to Defendant’s Motion to Lift the Stay of the Release Order (Docket Entry 17);

Defendant’s Reply Brief (Docket Entry 19); and Defendant’s Supplement (Docket Entry 20).

   1. Judge Mehta’s Ruling in Watkins

       As noted in the defendant’s reply, the government’s opposition incorrectly characterized a

portion of Judge Mehta’s ruling from the bench in United States v. Watkins, 21-cr-28-3. (Docket

19, at 6). The defense is correct that Judge Mehta never reached a determination on the issue of

whether 18 U.S.C. § 1361 is a crime of violence under 18 U.S.C. 3142(f)(1)(A). Rather, Judge

Mehta found that the rebuttable presumption under 18 U.S.C. § 3142(e)(3)(C) applies to 18 U.S.C.

§ 1361 and therefore found it unnecessary to decide whether the offense of depredation of

government property is a crime of violence.




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   2. The Baofeng Radio That Defendant Purchased on Amazon is not the Baofeng Radio
      Seized by Law Enforcement

       Defendant’s reply contends that he did not obtain the Baofeng radio seized by the

government until after January 6. As proof, Defendant provides a screenshot of an Amazon order

reflecting the purchase and delivery dates for a Baofeng radio. However, based on a comparison

of the radio identified in the screenshot and the radio recovered from the defendant’s residence, it

is evident that the radios are different. Specifically, the Baofeng radio in the Amazon screenshot

has a short antenna and a battery that is the same size as the radio unit itself. (Exhibits 1, 2). By

contrast, the Baofeng radio seized from Defendant’s residence has a larger antenna and a larger

battery, as well as a second, longer blade-style antenna. (Exhibit 3). Further, whereas Baofeng

radios do not come pre-programmed when purchased, the Baofeng radio seized from Defendant’s

residence was programmed to communicate on the specific frequency that the Proud Boys used on

January 6, 2021.

   3. The Passports Were Not in the Jewelry Box

       Defendant contends that the United States misrepresented the location of the passports that

were discovered during the execution of a search warrant. (Docket Entry 19, at 12-13).

Specifically, Defendant contends that the passports were not located on the dresser, but rather were

inside a jewelry box belonging to Defendant’s wife. (Id.; Docket Entry 20). After reviewing

Defendant’s reply brief, undersigned counsel spoke again with the searching agents and confirmed

that the passports were found on the dresser and not in a jewelry box. The location of the passports

is shown in FBI photographs which were taken by agents in accordance with FBI protocol.

(Exhibits 4, 5). The photographs were taken after the residence was secured and the firearms were

rendered safe, but before the actual search began.

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                                             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel via the Electronic Case Filing (ECF) system, on March 2, 2021.



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